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   GARY L. RAINSDON
   BANKRUPTCY TRUSTEE
   P.O. BOX 506
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   PHONE: (208) 734-1180
   FAX: (208) 734-2783
   trustee@filertel.com

                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF IDAHO

   In Re:                                )
                                         )       Case No.: 18-40715-JMM
   KENNETH L. FERRIE,                    )
                                         )
                                         )       Chapter 7
                          Debtor.        )


                 Motion for Extension of Time to File Motion to Dismiss or
                            Complaint Objecting to Discharge

   No Objection. The Court may consider this request for an order without further notice or
   hearing unless a party in interest files an objection within twenty-one (21) days of the
   date of this notice.

   If an objection is not filed within the time permitted, the Court may consider that there is
   no opposition to the granting of the requested relief and may grant the relief without
   further notice or hearing.

   Objection. Any objection shall set out the legal and/or factual basis for the objection. A
   copy of the objection shall be served on the movant.

   Hearing on Objection. The objecting party shall also contact the court’s calendar clerk to
   schedule a hearing on the objection and file a separate notice of hearing.

      COMES NOW, Gary L. Rainsdon, the Trustee in the above identified bankruptcy

   case, and pursuant to Bankruptcy Rule 1017(e), 4004(b), and 9006 (b) moves this Court

   for the entry of an order extending the time for filing a motion to dismiss or complaint

   objecting to discharge and for a delay in the issuance of discharge of the above-captioned

   debtor. This motion is made upon the grounds and for the following reasons that:


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      1. The Debtor has not provided all the documentation the Trustee requested.

      2. When Trustee has received the requested documents, he will need time to review

          them before he can decide whether or not to object to entry of a discharge or seek

          dismissal of the case.

      WHEREFORE, the trustee requests the entry of an order granting an extension of the

   February 7, 2019, deadline to file a motion to dismiss or complaint objecting to discharge

   until May 8, 2019. The trustee further requests that the issuance of a discharge be

   delayed until May 8, 2019.

   Dated this 7th day of February, 2019.

                                                        /s/
                                                        Gary L. Rainsdon, Trustee




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                               CERTIFICATE OF MAILING

           I HEREBY CERTIFY that on February 7, 2019, I filed the foregoing
   electronically through the CM/ECF system, which caused the following parties or
   counsel to be served by electronic means, as more fully reflected on the Notice of
   Electronic Filing:

          Alexandra O Caval alex@cavallawoffice.com, R71985@notify.bestcase.com
          U.S. Trustee, ustp.region18.bs.ecf@usdoj.gov
          Kameron M Youngblood youngbloodlaw@gmail.com,
          youngbloodlawecfnotice@gmail.com;G29963@notify.cincompass.com

          AND I FURTHER CERTIFY that on such date I served the foregoing on the
   following non- CM/ECF Registered Participants in the manner indicated:
          Via First Class mail, postage prepaid addressed as follows:

          Kenneth L Ferrie
          171 Blue Lakes #16
          Twin Falls, ID 83301

          Capital One Auto Finance, a division of Capital One, N.A., c/o AIS Portfolio
          Services, LP
          4515 N Santa Fe Ave. Dept. APS
          Oklahoma City, OK 73118

          PRA Receivables Management, LLC
          PO Box 41021
          Norfolk, VA 23541

          Additionally, a copy of the foregoing was served on the below identified parties,
   from the mailing matrix obtained by the court website, by first class mail, postage
   prepaid:

                  None

          Via certified mail, return receipt requested, addressed as follows:

                  None


                                                         By:            /s/
                                                                Gary L. Rainsdon, Trustee




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